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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                 Plaintiff,

          vs.                                               Cr. No. 17-2381 JCH

EDGAR GOMEZ-GUZMAN,

                 Defendant.


                              MEMORANDUM OPINION AND ORDER

          THIS MATTER comes before the Court on Defendant’s Ex Parte Motion for Rule 17(c)

Subpoena (“Motion”), filed September 1, 2017. (Doc. 15.) On September 14, 2017, the Court

entered an ex parte order granting the motion. (Doc. 22). However, it has come to the Court’s

attention that its September 14 order granted a subpoena for a class of records neither discussed

nor requested in the underlying motion: a list of Greyhound employees and their contact

information. The Court will not grant a subpoena for documents not requested in the underlying

motion. Thus, the Court will vacate its September 14 order, which is superseded by this

Memorandum Opinion and Order.

          The Court, having considered the Motion and the relevant law, and being otherwise fully

informed, finds that the Motion is well-taken in part and will be GRANTED in part as described

herein.

                                         BACKGROUND

          Defendant Gomez-Guzman is charged with Possession of more than 500 grams of a

mixture or substance containing a detectable amount of methamphetamine with intent to

distribute, contrary to 21 U.S.C. § 841(a)(1) and (b)(1)(A). (Doc. 15 at 2.) Mr. Gomez-Guzman

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seeks the issuance of a subpoena duces tecum pursuant to Rule 17(c) of the Federal Rules of

Criminal Procedure for two specific categories of documents.1 Mr. Gomez-Guzman argues that

the requested documents are necessary, relevant, admissible, and may reveal important

information and witnesses.

                                                 DISCUSSION

I.       Legal Standard

         A.       Federal Rule of Criminal Procedure 17

         Federal Rule of Criminal Procedure (“Rule”) 17 governs the issuance of subpoenas in

criminal proceedings. Rule 17(a) describes the process for obtaining subpoenas returnable at

trial by those who are able to pay for them. Specifically, under Rule 17(a), any party who is able

to pay the fees and mileage of a subpoenaed witness may cause a blank subpoena to be issued by

the clerk of the court as a matter of course, and without judicial intervention, and may then fill in

the time and place at which the witness must attend and testify. Fed. R. Crim. P. 17(a).

         Rule 17(b) describes the procedure for defendants who are unable to pay the required

fees: “[u]pon a defendant’s ex parte application, the court must order that a subpoena be issued

for a named witness if the defendant shows an inability to pay the witness’s fees and the

necessity of the witness’s presence for an adequate defense.”). Fed. R. Crim. P. 17(b). “The

Government is not notified of the proceeding and therefore defendant is not forced to disclose

potential defense witnesses or their expected testimony.” United States v. Florack, 838 F. Supp.

77, 78 (W.D.N.Y. 1993). “Although prior judicial authorization is required, the ex parte nature

of the Rule 17(b) application [thus] serves to put a defendant on equal footing with the


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  Mr. Gomez-Guzman submitted a proposed ex-parte order with his ex-parte motion listing a third category of
material not specifically sought in his motion. Specifically, this material was listed as category “(1)” in Mr. Gomez-
Guzman’s proposed Ex Parte Order. This item was not sought in the motion, and the Court does not authorize its
inclusion in the Rule 17(c) subpoena duces tecum it authorizes in this Memorandum Opinion and Order.

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Government because the Government is not required to give a defendant notice as to those

witnesses that it intends to subpoena to testify at trial.” United States v. Reyes, 162 F.R.D. 468,

469 (S.D.N.Y. 1995).

       Rule 17(c) in turn governs the issuance of subpoenas duces tecum, and enables either

party to obtain documents or other physical evidence. Specifically, Rule 17(c)(1) provides:

       [a] subpoena may order the witness to produce any books, papers, documents,
       data, or other objects the subpoena designates. The court may direct the witness
       to produce the designated items in court before trial or before they are to be
       offered in evidence. When the items arrive, the court may permit the parties and
       their attorneys to inspect all or part of them.

Fed. R. Crim. P. 17(c)(1). Thus, unlike a trial subpoena issued under Rule 17(a) or 17(b), Rule

17(c) provides that a subpoena duces tecum may be made returnable before trial. Id.; see also

United States v. Nixon, 418 U.S. 683, 698-99 (1974) (citing Bowman Dairy Co. v. United States,

341 U.S. 214 (1951) (Rule 17(c)’s “chief innovation was to expedite the trial by providing a time

and place before trial for the inspection of subpoenaed materials.”). However, Rule 17(c)

provides no specific direction as to the proper procedure by which a party obtains a pretrial

subpoena duces tecum, and courts have interpreted the language of the Rule to “indicate[] that an

application for a subpoena duces tecum returnable at trial is governed by the provisions of

Rule 17(a) and 17(b) dealing with the issuance of trial subpoenas.” Reyes, 162 F.R.D. at 469;

United States v. Nelson, No. CR 15-2023, *2.

       B.      Ex Parte Applications for Pretrial Production

       Absent a clear directive in the text of Rule 17(c) as to the proper procedure for obtaining

pretrial production pursuant to a subpoena duces tecum, courts have “split as to whether a party

may make an ex parte application for a pretrial subpoena duces tecum.” United States v. Sellers,

275 F.R.D. 620, 624 (D. Nev. 2011). The Tenth Circuit has not yet ruled on the issue, and in the



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absence of binding authority to the contrary, this Court is persuaded that indigent defendant

should be permitted to make an application for the pretrial production of documents ex parte.

Compare United States v. Nelson, No. CR 15-2023, *3-4 (same); United States v. Hargrove, No.

11-cr-326, 2013 WL 3465791, *4 (D. Colo. July 9, 2013) (same); United States v. Vigil, No. CR

10-2310, 2013 WL 3270995, *17-18 (D.N.M. June 3, 2013) (same); Sellers, 275 F.R.D. at 625;

United States v. Beckford, 964 F. Supp. 1010, 1030 (E.D. Va. 1997) (same); Reyes, 162 F.R.D. at

470-71 (same). The Court agrees that:

       [t]here are strong policy reasons in favor of an ex parte procedure. If a source of
       evidence were to be identified before the issuance of a subpoena, the source or the
       integrity of the evidence might be imperiled. In addition, a party may have to
       detail its trial strategy or witness list in order to convince a court that the
       subpoena satisfied the Nixon standards of specificity, relevance, and admissibility.
       If a full adversary hearing were required to obtain a subpoena duces tecum, a
       party would be forced to reveal this information to the opposing side, a result
       which would occur even if a court declined to issue the subpoena. In this vein,
       the Court is mindful that it is often defendants who seek a subpoena duces tecum
       on an ex parte basis in order to avoid disclosing their trial strategy to the
       Government.

162 F.R.D. at 470.

       Although the Court finds that an ex parte application for a subpoena duces tecum

ordering pretrial production of evidence is permissible, “it does not follow that the defendant is

entitled to strategic advantage or tactical surprise.” Sellers, 275 F.R.D. at 625. The plain

language of Rule 17(c) authorizes the court to “direct the witness to produce the designated items

in court before trial or before they are to be offered in evidence,” and once “the items arrive,” to

“permit the parties and their attorneys to inspect all or part of them.” Fed. R. Crim. P. 17(c)

(emphasis added). Accordingly, while the Court will permit Mr. Gomez-Guzman’s motion to

remain ex parte and under seal, it will not direct that the production of the requested material be




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made directly to defense counsel. Rather, the requested evidence must be produced to the court.

Sellers, 275 F.R.D. at 625, Vigil, 2013 WL 3270995, at *21.

       C.        Standard for Pretrial Production

       “Rule 17(c) was not intended to provide an additional means of discovery.” Bowman

Dairy, 341 U.S. at 220. Accordingly, a party seeking issuance of a subpoena duces tecum under

Rule 17(c) must establish:

       (1) that the documents are evidentiary and relevant; (2) that they are not otherwise
       procurable reasonably in advance of trial by exercise of due diligence; (3) that the
       party cannot properly prepare for trial without such production and inspection in
       advance of trial and that the failure to obtain such inspection may tend
       unreasonably to delay the trial; and (4) that the application is made in good faith
       and is not intended as a general “fishing expedition.”

United States v. Abdush-Shakur, 465 F.3d 458, 467 (10th Cir. 2006) (quoting Nixon, 418 U.S. at

699-700).       In order to meet this burden, the moving party “must clear three hurdles:

(1) relevancy; (2) admissibility; and (3) specificity.” United States v. Morris, 287 F.3d 985, 991

(10th Cir. 2002) (quoting Nixon, 418 U.S. at 700). It is insufficient that the requested evidence

“may have some potential of relevance and evidentiary use.” Sellers, 275 F.R.D. at 624. “The

specificity requirement also prevents a subpoena duces tecum issued pursuant to Rule 17(c) from

being used as a ‘fishing expedition to see what may turn up.’” Id. (quoting Bowman Dairy, 341

U.S. at 221).

II.    The Case Now Before the Court

       As stated above, the Court finds that Mr. Gomez-Guzman, who is indigent, has properly

made his Motion ex parte, and in order to protect the mental impressions and trial strategy of his

defense counsel, Mr. Gomez-Guzman’s Motion will remain ex parte and sealed.

       The Court finds that Mr. Gomez-Guzman has satisfied the Nixon test and established

good cause for the subpoena as to the two specific categories of documents sought in the Motion.

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Mr. Gomez-Guzman has further demonstrated that he is acting in good faith and not attempting

to conduct a general fishing expedition, and that he needs the material sought to assist him in his

defense against the government’s allegations against him in this case. Accordingly, the Court

will allow Mr. Gomez-Guzman to request production of the two categories of documents he

seeks through a Rule 17(c) subpoena duces tecum.

                                          CONCLUSION

         IT IS THEREFORE ORDERED that Defendant’s Ex Parte Motion for Rule 17(c)

Subpoena (Doc. 15) is GRANTED in part as follows:

         1.    The Clerk’s Office shall issue the Subpoena, and once the Subpoena has been

issued, the Clerk’s office shall contact defense counsel.

         2.    Defense counsel shall be responsible for service of the Subpoena upon the third-

party.

         3.    The requested materials shall be due no later than thirty days from the date of

receipt of the Subpoena by the third-party.

         4.    The third-party shall have thirty days from the date it receives the Subpoena to

file a motion to quash the Subpoena in accordance with Fed. R. Crim. P. 17(c)(2). If the third-

party files a motion to quash within the time period allowed as to some of the documents, but not

all of the documents, those documents not subject to an objection shall be delivered to the Court

no later than thirty days for the date of receipt of the Subpoena by the third party.

         5.    The requested materials shall be produced at the following address:

                       Chambers of U.S. District Judge Judith Herrera
                       Pete V. Domenici United States Courthouse
                       333 Lomas Boulevard, N.W., Suite 710
                       Albuquerque, New Mexico 87102




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       7.     Upon receipt of the responsive materials, the Court will notify both parties that

the documents are available for inspection and copying.

       8.     Mr. Gomez-Guzman’s Ex Parte Motion shall remain under seal.

       9.     The Court’s previous order [Doc. 22] is VACATED.


       IT IS FURTHER ORDERED that any requests made in Mr. Gomez-Guzman’s Ex

Parte Motion not expressly granted herein, are DENIED.

       IT IS SO ORDERED.




                                            ____________________________________
                                            UNITED STATES DISTRICT JUDGE




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